        Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 1 of 24




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13
                        NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
14

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   OPTICAL SOLUTIONS INC., a New                      Case No. 5:18-cv-00417-BLF (consolidated)
16 Hampshire corporation,
                                                      PLAINTIFF OPTICAL SOLUTIONS,
17                      Plaintiff,                    INC.’S OPPOSITION TO DEFENDANT
                                                      NANOMETRICS INCORPORATED’S
18              vs.                                   MOTION FOR SUMMARY JUDGMENT
                                                      AND MEMORANDUM OF POINTS AND
19 NANOMETRICS INCORPORATED, now                      AUTHORITIES
   known as ONTO INNOVATION INC., a
20 Delaware corporation,                              Date: June 29, 2023
                                                      Time: 9:00 A.M.
21                      Defendant.                    Courtroom 3
                                                      Judge Hon. Beth Labson Freeman
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28   4859-5781-1293v2                                       Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
        Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 2 of 24




 1                                                           TABLE OF CONTENTS

 2

 3
     I. INTRODUCTION ..................................................................................................................... 1
 4   II. FACTUAL BACKGROUND CREATING MATERIAL DISPUTED FACTS ....................... 1
 5   III.   SUMMARY JUDGMENT SHOULD BE DENIED ON PLAINTIFF’S CLAIMS ............ 14
        A. The Exclusivity Agreement is Supported by Consideration and Creates a Mutuality of
 6      Obligation .................................................................................................................................... 15
        B. Nanometrics Modified the 25 Micron Purchase Order to Set the Due Date at September 30,
 7      2014 ............................................................................................................................................. 17
 8      C. OSI Contracted Only to Provide Optical Lenses for Feasibility Study................................ 17
        D. The Exclusivity Agreement Expressly Amends the 40 Micron Purchase Order ................. 19
 9
        E. Nanometrics has Admitted it Sold Instruments Containing Small Spot Lenses .................. 19
10      F. OSI can and has Demonstrated it Suffered Contract Damages ............................................ 19
        G. OSI can Also Prove a Viable Promissory Estoppel ............................................................. 20
11
     IV. CONCLUSION .................................................................................................................... 20
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28    4859-5781-1293v2
                                                 -i-        Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
          Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 3 of 24




 1                                                      TABLE OF AUTHORITIES

 2

 3                                                                                                                                       Page(s)

 4 Cases

 5 Anderson v. Liberty Lobby, Inc.,
     477 U.S. 242 (1986) .................................................................................................................... 14
 6
   Burgermeister Brewing Corp. v. Bowman,
 7   227 Cal. App. 2d 274 (1964) ....................................................................................................... 15
   Celotex Corp. v. Catrett,
 8   477 U.S. 317 (1986) .................................................................................................................... 14
   Clicks Billiards, Inc. v. Sixshooters, Inc.,
 9   251 F.3d 1252 (9th Cir. 2001) ..................................................................................................... 14
   House v. Bell,
10
     547 U.S. 518 (2006) .............................................................................................................. 14, 16
11 Kowal v. Day,
     20 Cal. App. 3d 720 (Cal. Ct. App. 1971)................................................................................... 15
12 Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
     475 U.S. 574 (1986) .................................................................................................................... 14
13
   Statutes
14

15 Cal. Civ. Code, § 1644 .................................................................................................................... 15

16 Rules

17 Fed. R. Civ. P. 56(a) ........................................................................................................................ 14

18

19

20

21

22

23

24

25

26

27

28    4859-5781-1293v2
                                                 -ii-        Case No. 5:18-cv-00417-BLF (consolidated)
      PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
      INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
      AUTHORITIES
        Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 4 of 24




 1 I.       INTRODUCTION

 2          Nanometrics, Incorporated’s (“Nanometrics”) Motion for Summary Judgment should be

 3 denied because there are multiple material factual and legal disputes that render summary

 4 judgment improper. As will be explained in further detail below, Optical Solutions, Inc. (“OSI”)

 5 properly performed its contractual obligations and met the specific directions of senior

 6 Nanometrics employees in designing and supplying Nanometrics with functioning prototype

 7 optical lenses. Nanometrics breached its obligations by not honoring the exclusive supply

 8 agreement in multiple ways, including, but not limited to, changing the design specifications for

 9 the optical lenses without offering this same specification to OSI and by failing to work in good

10 faith with OSI on the testing and finalization of the prototype lenses.

11 II.      FACTUAL BACKGROUND CREATING MATERIAL DISPUTED FACTS

12          OSI is a high-end specialty optical manufacturing company located in Charlestown, New

13 Hampshire. Brad Piccirillo is its owner and president. Nanometrics is a company that operates in

14 the semiconductor spectrology field. It designs and sells instruments that can test semiconductor

15 wafers. (Declaration of Bradley J. Piccirillo (“Brad Decl.”) at ¶ 1.)

16          Beginning in 2012, Nanometrics contracted with OSI to fabricate a 40 micron optical lens

17 for Nanometrics (the “40 Micron Lens Project”). OSI was provided a design specification for the

18 40 Micron Lens Project. (Ex. A; Ex. E, Piccirillo 11:18-15:9.) OSI provided prototype lenses for

19 the 40 Micron Lens Project that met all of Nanometrics’ specifications. (Ex. B, p. 3.; Brad Decl. at

20 ¶ 2.) However, Nanometrics then added a new retardance criteria to the design specifications.

21 (Ex. C, Barada 79:5-17.) This change forced OSI to spend significant financial resources and time

22 adapting its optical lens to meet this new retardance criteria. OSI resolved the new retardance

23 criteria requirement. On December 19, 2012, Nanometrics issued Purchase Order No. 55637 (the

24 “40 Micron Purchase Order”), which was subsequently amended over time. Nothing in this 40

25 Micron Purchase Order required OSI to agree to subsequent amendments to provide additional

26 optical lenses to Nanometrics for the 40 Micron Lens Project. (Ex. D.)

27          The semiconductor spectrology instruments sold by Nanometrics contained numerous

28 component parts. Within the semiconductor industry, once a spectrology instrument is approved
    4859-5781-1293v2
                                                -1-           Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
       Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 5 of 24




 1 by a client and sold to that client, all future instruments have to contain identical component parts

 2 from the same suppliers or vendors. Within the industry, this concept is referred to as “copy-

 3 exact” or “supplier of record.” (Ex. C, Barada 23:5-7; Ex. E, Piccirillo 153:9-19.)

 4          It is undisputed that OSI became the supplier of record for the 40 Micron Optical Lens

 5 Project. (Ex. C, Barada 23:5-7.)

 6          On or about June 19, 2013, Mr. Piccirillo met with Nanometrics’ engineering team at their

 7 Milpitas, CA headquarters to discuss the 25 micron lens and identify its requirements. During this

 8 meeting, Nanometrics told OSI that it had to attempt to design and manufacture the most

 9 sophisticated of the various 25 micron lens options under consideration, referred to as the “bonus

10 lens.” (Ex. E, Piccirillo 131:19-24; 132-19-133:7; Brad Decl. at ¶ 3.)

11          On July 9, 2013, OSI issued a quote (#1867) (the “25 Micron Quote”) for a 25 micron

12 optical lens solution consistent with the parameters set forth in the feasibility specification

13 provided to OSI. OSI’s quote indicated what its lens was “designed to achieve” knowing that it

14 was a cutting edge prototype project so it was impossible to know what could actually be

15 achieved. (Ex. F; Ex. E, Piccirillo 137:22–138:5.) The 25 Micron Quote contained two parts: (1)

16 a quote for developing a prototype lens with an associated capital investment (“NRE”) of $54,350

17 for optical material for the prototype lens; and (2) a quote for mass producing the 25 micron lens

18 for Nanometrics’ commercial needs (the production lenses), with an associated $1,300,000 NRE

19 to set up and build the production lenses. (Ex. F.) Also in this quote, Nanometrics specifically

20 requested that OSI provide production pricing in specific quantities. (Ex. E, Piccirillo 146:14-17.)

21          The $1,300,000 NRE component for the production lenses memorialized what OSI already

22 had told Nanometrics regarding OSI’s estimated costs to purchase the tooling and other equipment

23 necessary to be able to meet the anticipated volume of production lenses for Nanometrics at the

24 proposed price. (Brad Decl. at ¶¶ 4-5.)

25          By July 19, 2013, OSI was in active negotiations with Nanometrics over an exclusive

26 supply agreement. (Ex. E, Piccirillo 207:24-209:10.)

27          On August 1, 2013, Nanometrics sent OSI an initial proposed purchase order for only the

28 prototype phase of the 25 micron lens project. This initial proposed purchase order for the
   4859-5781-1293v2
                                                   -2-            Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
        Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 6 of 24




 1 prototype phase was rejected by OSI because Nanometrics’ pricing was different than the 25

 2 Micron Quote. (Ex. G; Brad Decl. at ¶ 7.) (see first three pages originally attached to Fourth

 3 Amended Complaint and produced in discovery and remainder noting the prior version had been

 4 changed to reflect amended pricing).

 5              Even though OSI had not yet agreed to the terms of the 25 micron purchase order and had

 6 not yet finalized an exclusive supply agreement, OSI made arrangements beginning on August 2,

 7 2013, to have adequate manufacturing capacities on line in preparation for production

 8 requirements. OSI took these steps in reliance upon the ongoing negotiations and understandings

 9 reached between Mr. Crawford and Mr. Piccirillo, in this same time frame of late July to early

10 August, 2013, that the exclusivity agreement would commit OSI to provide production lenses for

11 the 40 micron project and the 25 micron project for certain. (Ex. E, Piccirillo 97:1-99:14; 174:11-

12 177:19; 180:20-23; 207:24-209:10; 230:7-234:5.)

13              In direct support of Nanometrics’ production needs, OSI placed orders with vendors for

14 specialized equipment between August 2, 2013 and August 7, 2013 in an approximate amount of

15 $838,606.00. (Ex. H, at No. 3; Ex. I; Brad Decl. at ¶¶ 6, 13.) These initial purchases included two

16 ultra-precision CNC lathes and associated hardware and software, as well as a high precision

17 centering machine. These purchases were specifically for the production phases of the 25 micron,

18 40 micron and all future small spot size lens projects contemplated as part of the ongoing

19 negotiations over the exclusive supply agreement. (Ex. J, Leon 29:10.) OSI had longstanding

20 relationships with both vendors. Because of this relationship, OSI was told that it could cancel the

21 orders at any time. (Brad Decl. at ¶ 6).

22              After the Exclusivity Agreement was signed, OSI purchased two additional high precision

23 machines, totaling approximately $310,300.00, specifically designed for grinding and polishing

24 micro lenses necessary for the micro optics needed to make small spot size lenses. (Ex. I.) These

25 purchases were for the production phases of the 25 micron, 40 micron and all future small spot

26 lens projects, and would not have been made absent the Exclusivity Agreement. (Ex. E, Piccirillo

27 206:19-207:1; Brad Decl. at ¶ 13.) OSI initiated these purchases early given the known time lag to

28 obtain the equipment. (Id. at 328:20-329:10.)
     4859-5781-1293v2
                                                -3-         Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
        Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 7 of 24




 1              On August 7, 2013, Nanometrics sent OSI a revised purchase order for the prototype phase

 2 of the 25 micron lens project to correct the pricing (the “25 Micron Prototype PO”). (Ex. G.) The

 3 25 Micron Prototype PO contained three separate components. Line 1 referenced the unit price

 4 and total price to manufacture 6, 25 micron prototype lenses. Line 3 referenced a NRE charge of

 5 $54,350.00 for engineering material to develop the first prototype lens. There was no other NRE

 6 associated with the prototype lens. Line 9 referenced the unit price and total price to manufacture

 7 the remaining 18 prototype lenses. The 25 Micron Prototype PO did not include any line item for

 8 the production lens phase of the 25 Micron Lens Project and there was no line item for any NRE

 9 related to the production lens phase. (Ex. G.)

10              The 25 Micron Prototype PO only committed OSI to design and deliver 24 prototype

11 lenses in exchange for the unit pricing plus an additional payment of $54,350.00 for the prototype

12 NRE. (Ex. G.)

13              On August 7, 2013, Nanometrics confirmed via email that it did not need OSI to sign the

14 25 Micron Prototype PO, and OSI confirmed that the terms of the 25 Micron Prototype PO were

15 acceptable to OSI. (Ex. K.) Nanometrics through Mr. Crawford also promised that it would

16 modify the 25 Micron Prototype PO for production, once the terms of the exclusive supply

17 agreement (the “Exclusivity Agreement”) were finalized. (Ex. E, Piccirillo 174:11-177:19; 230:7-

18 234:5.)

19              The Exclusivity Agreement and the 25 micron purchase order and 40 micron purchase

20 order identified specifically in the Exclusivity Agreement were intended by Nanometrics and OSI

21 to be part of the same transaction; the Exclusivity Agreement governed the parties’ overall

22 relationship; the specific purchase orders and their revisions were to be used as a tool to support

23 and manage the Exclusivity Agreement, including specific present orders (Ex. M, Section 1 and

24 Section 4.2). (Ex. E, Piccirillo 174:11-177:19; Ex. L, Leon Decl. ¶¶ 7-8.) The Exclusivity

25 Agreement was written with the understanding that the two identified purchase orders in the first

26 section of the Exclusivity Agreement would convert over to production purchase orders over time

27 in exchange for OSI’s agreement to forego its NRE. (Ex. E, Piccirillo 174:11-177:19, 230:7-

28 234:5.)
     4859-5781-1293v2
                                                -4-         Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
        Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 8 of 24




 1              OSI accepted the 25 Micron Prototype PO for the prototype lenses in reliance on

 2 Nanometrics’ promise that the 25 Micron Prototype PO would later be revised to reflect long-term

 3 production needs (i.e. production lenses) in support of the terms of the to be memorialized

 4 Exclusivity Agreement. (Ex. E, Piccirillo 174:11-177:19; 230:7-234:5.)

 5              Nanometrics was aware, beginning in August 2013, of the series of capital investments

 6 OSI was making to meet its future obligations in anticipation of amending the 25 Micron

 7 Prototype PO, for the production lenses, and in reliance on finalizing the Exclusivity Agreement.

 8 (Ex. J, Leon 52:20–53:3.) As negotiated between Nanometrics and OSI, the Exclusivity

 9 Agreement incorporated both the 40 and 25 micron lens purchase orders and committed OSI to the

10 40 micron production, 25 micron production, as well as all future small spot size lens design and

11 production that would also be managed pursuant to future, individual purchase orders. (Ex. C,

12 Barada 145:4-21; Ex. E, Piccirillo 230:7 -234:5; Ex. J, Leon 51:20-53:3.)

13              On August 13, 2013, OSI visited Nanometrics’ facility and Nanometrics’ engineering staff

14 approved OSI’s 25 micron lens design. OSI relied on these assurances from Nanometrics’

15 engineering staff. Based on these assurances that OSI’s design met the necessary requirements

16 and was approved, OSI believed and understood that the written terms of the Exclusivity

17 Agreement would be finalized, and therefore OSI had no need to cancel its previous capital

18 investments. OSI further believed and understood, based on these assurances, that it could begin

19 planning for, and could make additional capital investments for manufacture of the production

20 lenses. (Brad Decl. at ¶ 8.)

21              Bruce Crawford, Nanometrics’ Chief Operating Officer, and Mr. Piccirillo continued to

22 negotiate the terms of the proposed Exclusivity Agreement. The agreement reached between them

23 was that OSI would forego $1,300,000 in NRE and commit itself to being the prototype and

24 production supplier for the 25 Micron Lens and the 40 Micron Lens. Nanometrics agreed that the

25 40 Micron Lens Project would be converted to production lenses, the 25 Micron Lens project

26 would be converted to production lenses, and OSI would be given the exclusive first opportunity

27 at being the supplier of record for future small spot lenses. (Ex. E, Piccirillo 230:7-234:5; 174:11-

28 177:19; Brad Decl. at ¶ 10.)
     4859-5781-1293v2
                                                -5-         Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
        Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 9 of 24




 1              Without an Exclusivity Agreement, Nanometrics had no way to ensure that OSI would

 2 make the production lenses for Nanometrics when the time came. The only agreed-to purchase

 3 order for the 40 micron lens project had no obligation for OSI to manufacture production lenses.

 4 (Ex. D.) As explained above, once an instrument is put in the field, critical suppliers cannot be

 5 substituted, so Nanometrics had a strong incentive to lock in OSI as its exclusive supplier for the

 6 40 micron lens project. (Ex. E, Piccirillo 153:9-19.) Likewise, Nanometrics wanted to find a win-

 7 win scenario with OSI on the 25 micron lens project. Nanometrics wanted OSI to design the lens

 8 and purchase the equipment necessary to provide lower production pricing to Nanometrics, but

 9 Nanometrics did not want to pay for these costs. (Ex. E, Piccirillo 230:7-234:5; Ex. L, Leon Decl.

10 ¶¶ 6-7.)

11              The Exclusivity Agreement served both companies’ purposes. Through the Exclusivity

12 Agreement, Nanometrics locked OSI in for the production of the 25 micron and 40 micron lenses

13 and avoided the $1,300,000 NRE associated with manufacturing the 25 micron production lenses.

14 (Ex. L, Leon Decl. ¶¶ 6-8; Ex. J, Leon 54:21-55:5 (acknowledging signature).) On the other hand,

15 the Exclusivity Agreement’s terms allowed OSI to recoup the $1,300,000 NRE associated with

16 manufacturing the 25 micron production lenses, and recoup any future capital investments through

17 the manufacturing of the 40 micron and 25 micron production lenses, and the manufacturing of all

18 future small spot lens projects. (Ex. E, Piccirillo 174:11-177:19; 230:7-234:5; Brad Decl. at ¶¶ 10-

19 11.)

20              On September 9, 2013, OSI and Nanometrics executed the Exclusivity Agreement. (Ex.

21 M.) Thereafter, Mr. Piccirillo was told by Mr. Crawford that OSI was the exclusive production

22 supplier for the 40 micron lens, 25 micron lens and all future small spot lenses. (Brad Decl. at ¶

23 10.)

24              The Exclusivity Agreement governed the ongoing relationship between Nanometrics and

25 OSI. The Exclusivity Agreement states that “[t]he purpose of this addendum is to document an

26 exclusive product supply agreement between OSI and Nano. This addendum will address all

27 small spot lens listed below for future purchases as listed in 2.2 below.” (Ex. M.)

28              In Section 2.1, the Exclusivity Agreement then specifically identifies OSI as the exclusive
     4859-5781-1293v2
                                                       -6-            Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
       Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 10 of 24




 1 supplier by defining “Exclusive Supplier shall mean Nano will purchase all Small Spot Lens, as

 2 defined in Section 2.2 below, required for commercial sale from Optical Solutions Incorporated

 3 (OSI).” Id. (Emphasis added).

 4              Section 2.2 of the Exclusivity Agreement defines “Small Spot Lens” to “mean the

 5 following lenses which meet the specifications and commercial product performance

 6 specifications established by Nano in the applicable design specification:” Section 2.2 then

 7 contains five bullet points identifying the series of Small Spot Lens projects to which the

 8 Exclusivity Agreement applies. Id.

 9              Section 3 of the Exclusivity Agreement states: “If, on or before the date of completion

10 established in the design specification, which date may be amended by mutual agreement, OSI is

11 able to produce small spot lens which meets the specifications and commercial product

12 performance specifications established by Nano in the applicable design specifications, OSI shall

13 be Nano’s Exclusive Supplier of Small Spot Lens for the commercial life of the products in which

14 the Small Spot Lens is deployed.” Id. (Emphasis added).

15              Section 4.1 of the Exclusivity Agreement states: “In the event that OSI is not able to meet

16 the product specifications, commercial product performance, or peak volumes to meet Nano’s

17 commercial requirements, which may be reviewed and modified to allow for OSI to have

18 reasonable ramp up time to meet such commercial volumes, Nano may purchase Small Spot Lens

19 from alternative suppliers. Notwithstanding the foregoing, Nano shall give notice to OSI in the

20 event that such commercial requirements have increased, and OSI shall have a reasonable period

21 of time to ramp up to meet such commercial volumes.” Id. (Emphasis added.)

22              The existence of this Section 4.1 in the Exclusivity Agreement demonstrated that both OSI

23 and Nanometrics agreed that OSI obligated itself to meet the production needs of Nanometrics and

24 that OSI was to be Nanometrics’ exclusive supplier for the designated lenses. Id.

25              Finally, Section 4.2 of the Exclusivity Agreement states: “Purchase of Small Spot Lens

26 shall be at the price and terms and conditions set forth in the PO. For those lens not yet subject to

27 a PO, price will be negotiated by the parties and the terms and conditions shall be Nano standard

28 terms and conditions.” Id.
     4859-5781-1293v2
                                                -7-         Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
       Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 11 of 24




 1              Section 4.2 recognized that while the Exclusivity Agreement was intended to govern the

 2 ongoing relationship between Nanometrics and OSI, the current purchase orders as identified in

 3 the opening paragraph of the Exclusivity Agreement, and future purchase orders, would be used as

 4 the instrument to manage the execution of, and support, the Exclusivity Agreement. (Ex. L, Leon

 5 Decl. at ¶¶ 6-8.) This allowed Nanometrics to track shipment deadlines and gave Nanometrics the

 6 flexibility it needed to issue and revise purchase orders as required to meet Nanometrics

 7 scheduling needs. Id. The Exclusivity Agreement and the purchase orders, and future purchase

 8 orders, were intended, by the parties, to be binding and enforceable and all related to the same

 9 transaction. Id.

10              OSI understood and agreed that it was committing itself to meet the production needs of

11 Nanometrics for the 40 micron lens, the 25 micron lens and all future small spot sized lenses. (Ex.

12 E, Piccirillo 230:7-234:5; Brad Decl. at ¶ 11.)

13              In reliance on the execution of the Exclusivity Agreement, OSI made initial payments of

14 $382,581.80 on or about September 27, 2013 on the purchase of machinery that OSI ordered on

15 August 2 and August 7, 2013. (Brad Decl. at ¶ 10.) OSI also continued to make capital purchases

16 on December 2, 2013. All of these expenditures, totaling $1,333,175.00, were made by OSI to

17 support the future manufacturing needs identified in the Exclusivity Agreement, and in reliance on

18 the Exclusivity Agreement. (Ex. H at No. 3; Ex. I; Brad Decl. at ¶¶ 6,8, and 13.)

19              Nanometrics employees were aware of the purchases made by OSI to meet its production

20 requirements. (Ex. C, Barada 145:4-21; Ex. J, Leon 52:20-53:3.)

21              Unlike the 40 Micron Lens Project, the 25 micron lens project was a loosely defined

22 feasibility project. (Ex E, Piccirillo at 231:17-232:8.) The guidance Nanometrics provided to OSI

23 upon which to design and manufacture its 25 micron optical lens was not a final design

24 specification nor was it the commercial product performance specification as identified per

25 Section 2.2 of the Exclusivity Agreement. OSI was first provided with a document titled “25um

26 Box Refractive SE Lens Feasibility Study Specification.” (Ex. N; Ex. C, Barada 38:20-39:10.)

27 This is the Nanometrics’ provided specification to which OSI bid. (Ex. F.)

28              The study specifically requested OSI “[t]o minimize cost” by designing one optical lens to
     4859-5781-1293v2
                                                        -8-          Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
      Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 12 of 24




 1 work for both the Illumination Arm and Analyzer Arm.” (Ex. N at p. 2.) The Feasibility Study

 2 further recognized that not all proposed specifications may be able to be met. It ranked the

 3 priority for various aspects of the lens performance. Lateral color was identified as the least

 4 important requirement. (Ex. N at p. 4.) Finally, and most significant, in the “Results” section, it

 5 states: “The results of this study will not be a complete, nor even a preliminary lens design, but

 6 rather a design concept that indicates the feasibility of the Lens that can be designed and built

 7 based on detailed understanding of the fabrication tolerances that can be met.” (Ex. N at p. 5.)

 8 Nanometrics ultimately made three engineering revisions to the feasibility study resulting in a

 9 document that removed the word “feasibility study” from the title, but the ranking and concluding

10 results section described above remained identical, with the task being a design concept that

11 indicates the feasibility of the lens. (Ex. O; Ex. C, Barada 41:2-41:18.)

12          These requirements are vastly different than the detailed specification document issued by

13 Nanometrics for the 40 Micron Lens Project. (Ex. A.) The 25 micron lens requirements imposed

14 no absolute design specification criteria on OSI. Instead, OSI was contracted to develop a “design

15 concept” to demonstrate whether a 25 micron lens “can be manufactured and brought to

16 realization.” Consistent with this feasibility concept, on June 5, 2014, Tony Beddard, the Vice

17 President of Engineering/R&D for Nanometrics advised OSI that the lateral color guidance set in

18 the feasibility study could be relaxed from 2 microns to 4 microns. (Ex. P; Brad Decl. at ¶ 16.)

19          As a “design concept” and not “even a preliminary lens design,” OSI always understood

20 that its 25 micron prototype lens was intended solely for Nanometrics’ internal use. (Ex. Q,

21 Trissel 104:1-11; 206:10-21.) Andrew Barada, the Senior Director of Engineering at Nanometrics,

22 whose department was in charge of this project (Ex. C, Barada 24:11-20), acknowledged that

23 Nanometrics had not yet developed a final design specification even into the Fall of 2013 because

24 this was a prototype project. (Ex. C, Barada 59:1-60:12.)

25          In October 2013, as OSI was working on delivering its initial sets of prototype 25 micron

26 lenses, Nanometrics imposed new design requirements on OSI. Nanometrics required OSI to

27 design and fabricate two separate conjugate lenses, one for the illumination arm and one for the

28 analyzer arm, contrary to OSI’s quote and guidance in the feasibility study. Nanometrics also
   4859-5781-1293v2
                                                  -9-           Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
      Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 13 of 24




 1 changed the index data OSI had to utilize. (Ex. R, S and T; Brad Decl. at ¶ 14.) These

 2 Nanometrics changes created significant fabrication challenges because it caused one of the lens

 3 element edges to become extremely narrow. (Ex. E, Piccirillo 193:19-194:12; Ex. C, Barada

 4 68:12-69:1; Ex. S.) Additionally, Nanometrics also required OSI to modify the mechanical

 5 envelope. (Ex. U). OSI had to wait on Nanometrics to provide the parameters for this change

 6 before it could even order the materials to make that change. OSI did not receive final dimensions

 7 from Nanometrics until after the original December 10, 2013 delivery date in the 25 Micron

 8 Prototype PO. (Ex. U.)

 9          As a result of these changes, Nanometrics knew by November 2013 that the December 10,

10 2013 delivery date was no longer “operative.” (Ex. C, Barada 177:23-179:7.) The final design

11 information from Nanometrics was not provided to OSI until after the original purchase order due

12 date of December 10, 2013. (Brad Decl. at ¶ 14.) Other Nanometrics suppliers unrelated to the

13 optical lens were also delayed. (Ex. C, Barada 182:23-183:2; 309:6-10.) The engineering

14 department understood that these changes impacted OSI’s schedule. (Id. 184:14-185:2.) The 25

15 Micron Prototype PO was modified on December 28, 2013 to indicate a new delivery date of

16 September 30, 2014. (Ex. V.)

17          Only Nanometrics’ purchasing department could modify purchase orders. (Ex J, Leon

18 23:9-19.) Per the terms and conditions of the Nanometrics’ purchase orders, Note 16b states

19 “Entire Agreement. This Order and its related schedules constitutes the entire understanding

20 between the parties with respect to goods and services and supersedes all previous negotiations,

21 commitments and writings with respect thereto.” (Ex. V.) Nanometrics intended OSI to rely on

22 the modified purchase order. (Ex. J, Leon 122:6-18.) At no point between December 10, 2013

23 and September 30, 2014 did any Nanometrics employee ever advise OSI that it was in breach or

24 default of its obligations per the Exclusivity Agreement. (Brad Decl. at ¶ 15.)

25          On December 10, 2013, the 40 Micron PO was amended to convert the 40 Micron PO into

26 an initial production purchase order. (Ex. D, lines 116-118.) This purchase order was again

27 issued pursuant to Section 4.2 of the Exclusivity Agreement. (Ex. M.) Had OSI not signed the

28 Exclusivity Agreement, it would have had no obligation to agree to this amendment to start
   4859-5781-1293v2
                                                -10-           Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
       Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 14 of 24




 1 making 40 micron production lenses for Nanometrics. OSI committed itself to do so when it

 2 signed the Exclusivity Agreement. (Ex. E, Piccirillo 174:11-177:19; 230:7-234:5.) Thereafter,

 3 OSI, in conformance with the Exclusivity Agreement, continued to manufacture and deliver 40

 4 micron lenses to Nanometrics as its optical lens “supplier of record.” (Ex. C, Barada 23:5-7.)

 5              After addressing Nanometrics’ design changes in October 2013, and after receiving final

 6 requirements in December 2013, OSI began delivering prototype 25 micron lenses to Nanometrics

 7 starting in February 2014. (Ex. H at No. 2.)

 8              Unbeknownst to OSI and inconsistent with the concept of a feasibility study for prototype

 9 lenses, Nanometrics used OSI 25 micron lenses in a demonstration instrument and multiple kits

10 delivered to TSMC, a customer of Nanometrics. (Ex. W at p. 4; Ex. C, Barada 81:4-84:9.) The

11 Applications Department of Nanometrics is the department that is focused on making sure the

12 Nanometrics testing instrument as a whole meets the customer’s needs. (Ex. C, Barada 122:6-14.)

13 In an internal Engineering Operations Review power point dated July 23, 2014, the summary

14 discussing the performance of the instruments delivered to TSMC using OSI 25 micron lenses

15 stated “Performance targets met as measured by Apps.” (Ex. X at p. 3.) According to Mr. Barada,

16 the applications department is ultimately responsible for determining performance. (Ex. C, Barada

17 308:6-11.) Likewise, Mr. Vedula testified that the applications department performs system level

18 tests. (Ex. Y, Vedula 50:3-19.) Consistent with this analysis, Dan Thompson, a senior engineer

19 at Nanometrics, wrote that the instrument Nanometrics delivered to TSMC using OSI 25 micron

20 lenses kept Nanometrics “in the game.” (Ex. Z; Ex. PP, Thompson 116:17-119:4.) Nanometrics

21 used OSI lenses to establish its 25 micron market, but then refused to give OSI the commercial

22 product performance specifications guaranteed OSI by the Exclusivity Agreement. (Brad Decl. at

23 ¶ 18.) The commercial product performance specifications were only offered to Melles Griot.

24 (Ex. FF.; Ex. PP, Thompson, 167:10-18.)

25              Throughout the time Nanometrics spent establishing their 25 micron market using OSI

26 lenses, they never provided any of this information to OSI. OSI had no idea that its lenses had

27 been delivered to a customer or that the Nanometrics instrument using OSI lenses met

28 performance targets. (Ex. C, Barada 114:3-8.)
     4859-5781-1293v2
                                                -11-        Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
      Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 15 of 24




 1          Nanometrics provided OSI with a lateral color bench in February 2014, months after the

 2 original December 10, 2013 delivery date. (Ex. AA.) The lateral color bench that Nanometrics

 3 provided to OSI was a “homemade” instrument without any industry standards related to

 4 qualifications or performance. (Brad Decl. at ¶ 17.) OSI struggled throughout the spring and

 5 summer of 2014 to get the lateral color bench to work properly, which it never did. (Ex. BB.) It

 6 was unreliable and would not generate consistent and repeatable results and was ultimately

 7 rendered useless. (Ex. CC, Dugrenier 343:5-348:9; Brad Decl. at ¶ 17.) OSI was initially given

 8 the wrong spreadsheet. (Brad Decl. at ¶ 17.) The difficulties with the lateral color bench impaired

 9 OSI’s ability to complete its lens assemblies and deliver them to Nanometrics. (Ex. CC,

10 Dugrenier 352:5-20; Ex. Q, Trissel(2) 161:14-163:11.)

11          Even with these challenges imposed by Nanometrics, OSI met the lens delivery schedule it

12 was provided by John Leon, the Vice President of World Wide Operations. On July 9, 2014, Mr.

13 Leon requested three sets of the T1 and T2 prototype lenses to test for qualification purposes. He

14 requested these qualification lenses first and asked that OSI not ship the remaining lenses so that

15 OSI had lenses on hand for any modifications or adjustments Nanometrics might need. (Ex. L. at

16 ¶ 14, Ex. DD.; Ex. J, Leon 163:7-21.) OSI delivered the requested lenses by August 21, 2014,

17 even though the purchase order did not require any lenses be delivered before September 30, 2014.

18 (Ex. H at p. 8; Ex. EE.)

19          At the time, OSI did not know Nanometrics had already internally decided to change the

20 feasibility specification to a less stringent requirement. Nanometrics provided this requirement,

21 which ultimately became the commercial product performance specification per 2.2 of the

22 Exclusivity Agreement, to Melles Griot. Nanometrics did not provide this same commercial

23 product performance specification to OSI in direct violation of the Exclusivity Agreement. (Brad

24 Decl. at ¶ 18.) The specification Nanometrics provided to Melles Griot was for a lower

25 performing 25 micron lens. (Ex. FF.)

26          The lens Melles Griot manufactured was a small spot lens and within the same wavelength

27 range identified in Section 2.2 of the Exclusivity Agreement. (Compare Ex. FF and Ex. M at ¶

28 2.2.) In Nanometrics’ requirement to Melles Griot, the lens needed to perform over a much
   4859-5781-1293v2
                                                -12-            Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
      Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 16 of 24




 1 shorter wavelength range, 200-1000nm vs OSI’s requirement of 200-1700nm. (Ex. FF.) This lens

 2 requirement is easier to manufacture than the lens Nanometrics asked OSI to design and

 3 manufacture per the feasibility study. (Ex. C, Barada 111:24-112:3.) This different lens

 4 requirement was not provided to OSI (id. at 117:16-23), even though it should have been provided

 5 to OSI per the Exclusivity Agreement. (Ex. J, Leon 89:9-18.) Nanometrics made this decision by

 6 no later than July 18, 2014 but kept it secret from OSI. (Ex. GG; Ex. PP, Thompson 171:10-

 7 172:10; Ex. C, Barada 114:3-8; Ex. HH; Ex. Y, Vedula 93:24-96:2.) Nanometrics’ deceitful

 8 actions related to providing OSI the commercial product performance specifications is in direct

 9 violation of the terms outlined in the Exclusivity Agreement.

10          The OSI 25-micron lens performed better over time and was a higher performing lens than

11 the Melles Griot lens. (Ex. C, Barada 129:22:-131:25; 223:21-224:13.) The limited data

12 Nanometrics provided to OSI at the time supported OSI’s understanding that its prototype lenses

13 met the feasibility study requirements. The lenses that John Leon requested OSI deliver for

14 qualification purposes, Mr. Thompson reported to OSI that its lens was “in spec” on September

15 11, 2014. (Ex. II.) The chart at the end of this email shows the qualification lenses had improved

16 performance that met all of the necessary criteria. (Id.) Nanometrics internal quality control

17 documents from that time also show that OSI lenses “passed” all performance tests as measured

18 by Nanometrics. (Ex. JJ; Ex. PP, Thompson, 133:7-135:25.) The main goal of the 25um

19 Specification identifies in the overview section that the ultimate desired performance criteria is

20 ensquared energy. (Ex. O at p. 1.) An internal document produced by Nanometrics shows that

21 OSI’s lenses performed well within the requirements of the 25 micron lens specification (Ex. O)

22 and met the desired system level ensquared energy. (Ex. KK.) (last page chart blown up so can be

23 read). None of this data was ever provided to OSI at the time. Furthermore, Mr. Thompson

24 commented in 2016 that the OSI lenses “have performed well in QC.” (Ex. LL.)

25          This data also reveals that except for three lenses, Nanometrics never performed a final

26 system level test on the lenses to determine an ensquared energy result. (Ex. KK.) Absent such

27 final testing, OSI could never be in the position to move forward with production lenses for the 25

28 micron lens project. Only Nanometrics could perform this test, and by failing to do so, it
   4859-5781-1293v2
                                                -13-           Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
       Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 17 of 24




 1 prevented OSI from ever being able to meet commercial product performance requirements. (Ex.

 2 J, Leon 41:13-25.)

 3              OSI continued to deliver lenses to Nanometrics. Nanometrics never advised OSI that it

 4 had not selected OSI as the 25 micron lens supplier. (Brad Decl. at ¶ 19.) In fact, as late as June

 5 2015, Ingo Riedl of Nanometrics asked OSI to provide him with a production pricing quote for the

 6 25 micron lens project, and OSI provided that information. (Ex. MM; Brad Decl. at ¶ 19.)

 7              Not until Nanometrics’ Supplier Appreciation Day in 2016, did Mr. Piccirillo and OSI

 8 know that OSI would never be the supplier of record for the 25 micron lens project. (Ex. E,

 9 Piccirillo 309:1-14.)

10              Additionally, even though the Exclusivity Agreement required it (Ex. M at ¶ 2.2 (third

11 bullet)), OSI has never been provided with the specifications for any of the other small spot lenses

12 identified in Section 2.2 of the Exclusivity Agreement. (Ex. E, Piccirillo 288:13-290:18; Ex. NN;

13 Brad Decl. at ¶ 23.)

14 III.         SUMMARY JUDGMENT SHOULD BE DENIED ON PLAINTIFF’S CLAIMS

15              Summary judgment is only appropriate “if the movant shows that there is no genuine

16 dispute as to any material fact and [they are] entitled to judgment as a matter of law.” Fed. R. Civ.

17 P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 321 (1986). Material facts are those which may

18 affect the outcome of the case, and a dispute as to a material fact is “genuine” only if there is

19 sufficient evidence for a reasonable trier of fact to decide in favor of the nonmoving party.

20 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). On a motion for summary judgment,

21 the Court draws all reasonable inferences that may be taken from the underlying facts in the light

22 most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

23 U.S. 574, 587 (1986); Clicks Billiards, Inc. v. Sixshooters, Inc., 251 F.3d 1252, 1257 (9th Cir.

24 2001) (citation omitted). “[T]he district court does not assess credibility or weigh the evidence, but

25 simply determines whether there is a genuine factual issue for trial.” House v. Bell, 547 U.S. 518,

26 559–560 (2006). Summary judgment must be denied if “a fair-minded jury could return a verdict

27 for the [non-moving party] on the evidence presented.” Anderson, 477 U.S. at 252.

28
     4859-5781-1293v2
                                                -14-        Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
      Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 18 of 24




 1          A.     The Exclusivity Agreement is Supported by Consideration and Creates a
                   Mutuality of Obligation
 2

 3          Nanometrics first claims that it is entitled to summary judgment on OSI’s breach of

 4 contract claim for lack of mutuality of obligation and lack of consideration.

 5          Nanometrics, as it has done throughout this case, asserts a “lack of consideration”

 6 argument in the guise of a “lack of mutuality” argument to attack OSI’s breach of contract claim.

 7 See Kowal v. Day, 20 Cal. App. 3d 720, 725 (Cal. Ct. App. 1971) (“[t]he question of mutuality is

 8 merely one of consideration.”)

 9          Nanometrics’ “lack of mutuality” argument fails because OSI was obligated to perform

10 under the Exclusivity Agreement. The Exclusivity Agreement obligates OSI to: (1) meet the

11 “product specifications” defined in Section 2.2; (2) to meet “commercial product performance” for

12 the contracted lenses; and (3) to satisfy the “peak volumes” to meet Nano’s commercial

13 requirements.” (Ex. M; Ex. E, Piccirillo 174:11-177:19 and 230:7-234:5.) Contrary to

14 Nanometrics’ contention, OSI’s performance under the Exclusivity Agreement is neither optional,

15 nor left only to OSI’s sole discretion. Rather, the Exclusivity Agreement, which states “if…OSI is

16 able to produce,” as opposed to “if…OSI is willing to produce,” clearly obligates OSI to perform

17 thereunder. (See Ex. 4); Cal. Civ. Code, § 1644 (contractual terms are to be understood in their

18 ordinary and popular sense).

19          Finally, Nanometrics’ “lack of mutuality” argument fails because, even assuming that the

20 Exclusivity Agreement was an “optional” contract, OSI has met the requirements for mutuality of

21 obligation because OSI commenced performance including the purchasing of equipment to meet it

22 production obligations. (Ex. H at No. 3; Ex. I; Ex. E, Piccirillo 206:19-207:23; Brad Decl. at ¶¶

23 6,8 and 13); see Kowal, 20 Cal. App. 3d at 727 (part performance constitutes sufficient

24 consideration for an option contract); see also Burgermeister Brewing Corp. v. Bowman, 227 Cal.

25 App. 2d 274 (1964) (part performance of a promise to exert best efforts to satisfy beer distribution

26 satisfies consideration requirement). As shown above, OSI can prove partial performance of its

27 obligations in furtherance of the Exclusivity Agreement that were separate and distinct from its

28 existing obligations, including OSI’s work on the lenses, commitment of substantial time and
   4859-5781-1293v2
                                                  -15-          Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
      Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 19 of 24




 1 resources, and making capital investments in furtherance of its obligations under the Exclusivity

 2 Agreement. (Ex. H at No. 3; Ex. I; Ex. E, Piccirillo 206:19-207:23; Brad Decl. at ¶ 13.) As such,

 3 this Court should reject this argument.

 4          Nanometrics’ argument that the absorption of the NRE and capital expenditures do not

 5 constitute sufficient consideration for the Exclusivity Agreement ignores the multiple material

 6 disputed issues of fact surrounding this issue. Mr. Piccirillo has testified that the agreement he

 7 negotiated with Mr. Crawford committed OSI to be a production supplier of the 25 micron and 40

 8 micron lenses when there was no Purchase Order so committing OSI. (Ex. E, Piccirillo 174:11-

 9 177:19, 230:7-234:5; Brad Decl. at ¶¶ 10-11.) Mr. John Leon’s Declaration, before he agreed to

10 let the Defendant’s counsel represent him (Ex. J, Leon 260:16-262:3), unequivocally states that

11 “the Addendum (Exclusivity Agreement) committed OSI to continue to manufacture the 40

12 Micron lenses for Nanometrics.” (Ex. L at ¶ 12.) The fact that Mr. Leon, mysteriously disavowed

13 that statement once represented by Cooley, creates a disputed issue of fact and credibility that only

14 a jury can decide, especially given that this much earlier statement is consistent with how Mr.

15 Piccirillo consistently has testified. See House, supra, at 599-600.

16          If the Court has any doubt about the pressure Nanometrics applied to its former employees,

17 it need only look at the questioning of Mr. Barada at the end of his deposition. (Ex. C, Barada

18 300:7-301:12.) Moreover, Mr. Leon has not attempted to disavow his statement that Nanometrics

19 offered the Exclusivity Agreement as a way to incentivize OSI without having to pay for NRE

20 charges. (Ex. L at ¶ 6.) He reaffirmed this statement during his deposition. (Ex. J, Leon 84:13-

21 21.) If either of Mr. Leon’s original statements just cited are credited, which must be done at the

22 summary judgment stage, Mr. Leon has provided all of the evidence needed to establish

23 consideration for the Exclusivity Agreement. Additionally, Mr. Piccirillo has testified that he

24 gave up the $1.3 million NRE in exchange for the commitment that he would be the production

25 supplier for the 40 micron and 25 micron lens projects. (Ex. E, Piccirillo 230:7-234:5; Brad Decl.

26 at ¶ 11.)

27          Mr. Crawford, in his original Declaration, also confirmed that OSI agreed to forego this

28 payment. (Ex. OO at ¶ 6.) Like Mr. Leon, the fact that Mr. Crawford attempted to disavow his
   4859-5781-1293v2
                                                -16-           Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
      Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 20 of 24




 1 earlier statement and submitted a later affidavit does nothing but create fact disputes that render

 2 summary judgment inappropriate.

 3          B.      Nanometrics Modified the 25 Micron Purchase Order to Set the Due Date at
                    September 30, 2014
 4

 5          Nanometrics also continues to falsely claim that OSI breached the December 10, 2013

 6 delivery date set forth in the original 25 Micron Prototype PO. As demonstrated above, this claim

 7 is belied by the facts. Nanometrics required OSI to make design changes. Nanometrics’ chief

 8 engineer stated that because of these changes, the December 10, 2013 date was not “operative” by

 9 November. (Ex. C, Barada 177:23-179:7.) OSI did not receive final dimensions from

10 Nanometrics until after the original December 10, 2013 delivery date. (Ex. U; Brad Decl. at ¶ 14.)

11 Mr. Leon confirmed that only Nanometrics could change purchase orders. Nanometrics updated

12 its 25 Micron Prototype PO on December 28, 2013 to reflect a new delivery date of September 30,

13 2014. (Ex. V.) Mr. Leon confirmed this fact in his original declaration (Ex. L at ¶ 14), and

14 reaffirmed the accuracy of this paragraph during his deposition. (Ex. J, Leon 180:8-23.)

15          Finally, Nanometrics supplied OSI with a lateral color test bench in February 2014. If OSI

16 was in breach of the purchase order, there would be no reason to do so. (Ex. AA.) Moreover,

17 Nanometrics has produced no evidence that it ever at the time claimed that OSI had breached the

18 purchase order by missing the original December 10, 2013 delivery date. (Brad Decl. at ¶ 15.)

19 Again, OSI did not receive final dimensions from Nanometrics until after the original December

20 10, 2013 delivery date in the 25 micron prototype PO. (Ex. G; Brad Decl. at ¶ 14.) For these

21 reasons, Nanometrics’ argument relative to the import of the December 10, 2013 delivery date is

22 factually inaccurate and should be rejected.

23          C.      OSI Contracted Only to Provide Optical Lenses for Feasibility Study

24          Contrary to Nanometrics’ argument, there never was a fixed and final design specification

25 for the 25 micron lens project. Nanometrics asked OSI to quote off of a feasibility study that other

26 than a name change remained a feasibility study throughout the course of the project. (Ex. N and

27 O.) This feasibility study recognized that all criteria may not be met, prioritizes the criteria, and

28 even indicates that the next step will be a preliminary lens design. (Ex. O.) OSI was never able to
   4859-5781-1293v2
                                                     -17-          Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
      Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 21 of 24




 1 move past the feasibility study stage because Nanometrics secretly changed the specification,

 2 offered that easier specification to another supplier, and never provided OSI with the commercial

 3 product performance specifications or final design specifications. (Brad Decl. at ¶ 18.) The

 4 Exclusivity Agreement required Nanometrics to do so. (Ex. M at ¶ 2.2 and ¶ 4.1.) This was and

 5 always remained a development project run by the Nanometrics engineering department. (Ex. C,

 6 Barada 24:11-20.) As such the focus was not on the normative lens performance but on whether

 7 the lens performance was improving over time such that feasibility could be established. (Ex. C.,

 8 Barada 131:22-132:6.)

 9          Even so, OSI knows that when Nanometrics used OSI lenses for TSMC, the applications

10 department reported that the instrument met performance specifications. Because the performance

11 for the end user is the ultimate test, the fact that the applications department of Nanometrics

12 reported such findings demonstrates the viability and proper performance of OSI lenses for their

13 intended purposes. (Ex. X.) Moreover, Mr. Bedard advised OSI that it could relax the lateral

14 color requirement to 4 microns. (Ex. P.) This email indicates that Nanometrics’ requirements

15 were not fixed and this email confirms the prototype nature of this project. All the lenses tested

16 from June 17, 2014 forward fell well under 4 microns lateral color. Even the ones that were above

17 2 microns in lateral color had ensquared energy readings over 99.5, which was the overall goal of

18 the entire project. (Ex. KK and Ex. O at p. 1.)

19          Nanometrics’ argument on this point is an attempt to distract the Court from the

20 undisputed fact that Nanometrics, by no later than July 18, 2014, secretly changed the

21 specification and switched suppliers without telling OSI. (Ex. FF and GG.) This was months

22 prior to the deadlines in the operative purchase order. (Ex. EE.) Nanometrics’ intentional

23 decision completely deprived OSI of any ability to meet the commercial product performance

24 requirements of the Exclusivity Agreement because they deliberately and intentionally did not

25 provide OSI the commercial product performance opportunity. (Ex. M at ¶ 4.1.) Thus, it is

26 particularly ironic that one of Nanometrics’ arguments is that OSI could not meet the commercial

27 product performance specification, when it is Nanometrics’ own secret decision to switch

28 suppliers that rendered OSI’s performance on this issue impossible.
   4859-5781-1293v2
                                                 -18-          Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
       Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 22 of 24




 1              D.      The Exclusivity Agreement Expressly Amends the 40 Micron Purchase Order

 2              Nanometrics’ argument concerning whether the 40 Micron Lens Project is part of the

 3 Exclusivity Agreement is pure sophistry. The Exclusivity Agreement in the first paragraph

 4 specifically states that it “amends Purchase Order No. 055637 dated December 19, 2012.”

 5 (Ex. M.) That Purchase Order is the 40 Micron Purchase Order. (Ex. D.) If OSI was not

 6 obligated to become the production supplier for the 40 Micron Lens Project by virtue of the

 7 Exclusivity Agreement, there would be no reason for the parties to agree to amend that Purchase

 8 Order. The 40 Micron Purchase Order was not included in Section 2.2, because OSI was almost

 9 done with the prototype phase at this stage. (Brad Decl. at ¶ 10.) The 40 micron Purchase Order

10 was amended to become an initial production purchase order on December 10, 2013. (Ex. D at

11 lines 116-118.)

12              E.      Nanometrics has Admitted it Sold Instruments Containing Small Spot Lenses

13              Similarly, Nanometrics’ argument that it did not sell any small spot lens as defined in the

14 Exclusivity Agreement is again pure sophistry. It is undisputed that Nanometrics sold Atlas III

15 instruments that contained multiple small spot lens of the type identified in the Exclusivity

16 Agreement (SE and SR). (Ex. Y, Vedula 26:25-27:7, 30:14-24.) The small spot lens ultimately

17 used by Nanometrics was for the same spot size and was within the same wavelength range as the

18 small spot lens definition for the 25 micron SE lens set forth in the Exclusivity Agreement.

19 (Compare Ex. M (2.2 second bullet) with Melles Griot Quote, Ex. 248, p. 6.) Internally,

20 Nanometrics referred to both the OSI and Melles Griot lens as 25 micron small spot lenses. (Ex.

21 GG; Ex. HH.) Moreover, Mr. Leon testified that OSI should have been provided any design

22 change so it would be grossly inequitable for Nanometrics to hide a design change and then claim

23 because of the design change, the Exclusivity Agreement was inapplicable. (Ex. J, Leon 89:9-18.)

24 Such conduct is textbook bad faith. Additionally, Nanometrics was required to provide design

25 information on the SR lens but never did even after promising it. (Ex. NN; Ex. E, Piccirillo 290:8-

26 18). The Atlas III also contained an SR lens. (Ex. Y, Vedula 31:2-31:7.)

27              F.      OSI can and has Demonstrated it Suffered Contract Damages

28              Nanometrics’ contract damages argument is similarly misplaced. Mr. Vedula has testified
     4859-5781-1293v2
                                                    -19-            Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
       Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 23 of 24




 1 that Nanometrics sold approximately 120 Atlas III Instruments that contained small spot lenses of

 2 the type identified in Section 2.2 of the Exclusivity Agreement. (Ex. Y, Vedula 26:25-27:7 and

 3 34:23-35:6.) Mr. Piccirillo has testified regarding how as the sole owner of OSI he sets his margin

 4 for the 25 Micron Lens Project and pricing. (Ex. E, Piccirillo 335:4-36:19; Piccirillo (2) 253:5-

 5 12.) OSI provided final production pricing in 2015 at the request of Nanometrics. (Ex. MM.)

 6 Thus, while OSI will demonstrate far more lost profits than just what is identified above, for

 7 purposes of summary judgment, OSI can demonstrate through basic math the baseline lost profits

 8 it is entitled to recover in this case.

 9              G.      OSI can Also Prove a Viable Promissory Estoppel

10              Finally, OSI submits that it has established a viable breach of contract claim. It also can

11 establish a viable promissory estoppel claim. Mr. Piccirillo testified as to the agreement he

12 reached with Mr. Crawford to obtain the exclusive supplier rights in exchange for foregoing NRE

13 and committing to be the production supplier for the 25 micron and 40 micron optical lens

14 projects. (Ex. E, Piccirillo 174:11-177:19; 230:7-234:5.) Mr. Leon’s original declaration

15 confirmed that Nanometrics intended to lock OSI into being the production supplier. (Ex. L at

16 ¶¶ 6 and 12.) Nanometrics also knew at the time that OSI was making these purchases for its

17 production capacity. (Ex. J, Leon 52:20-53:3; Ex. C, Barada 145:4-21.)

18              OSI has documented the capital expenditures, about which Nanometrics was aware, made

19 in reliance on the promise of becoming the production supplier for the 40 micron and 25 micron

20 lenses, including the subsequent purchase of Opticraft on behalf of OSI. (Ex. H at No. 3; Ex. I,

21 Ex. E, Piccirillo 328:20-329:10; Brad Decl. at ¶¶ 6,8 and 13.) Thus, OSI has presented more than

22 sufficient evidence in support of its reliance damages.

23 IV.          CONCLUSION

24              For all of the reasons outlined above, Nanometrics’ motion for summary judgment should

25 be denied in its entirety.

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     4859-5781-1293v2
                                                -20-        Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
     INCORPORATED’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM OF POINTS AND
     AUTHORITIES
       Case 5:18-cv-00417-BLF Document 141 Filed 04/14/23 Page 24 of 24




 1 DATED: April 14, 2023                           Respectfully submitted,

 2                                                 HOGE, FENTON, JONES & APPEL, INC.
 3

 4
                                                   By:          /s/ Remington A. Lenton-Young
 5                                                       Remington A. Lenton-Young
                                                         Attorneys for Plaintiff OPTICAL SOLUTIONS,
 6                                                       INC.
 7

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 9

10                                       CERTIFICATE OF SERVICE

11              I hereby certify that this document filed through the ECF system will be sent electronically

12 to the registered participants as identified on the Notice of Electronic Filing (NEF).

13   DATED: April 14, 2023

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15                                                 By:         /s/ Remington A. Lenton-Young
16                                                       Remington A. Lenton-Young

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     4859-5781-1293v2
                                                -21-        Case No. 5:18-cv-00417-BLF (consolidated)
     PLAINTIFF OPTICAL SOLUTIONS, INC.’S OPPOSITION TO DEFENDANT NANOMETRICS
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